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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
                        Plaintiff,            )       ORDER DENYING DEFENDANT’S
                                              )       MOTION TO REDUCE SENTENCE
       vs.                                    )
                                              )
Eric Marcel Turner,                           )       Case No. 1:16-cr-192
                                              )
                        Defendant.            )


       Before the Court is the Defendant’s pro se motion to reduce sentence pursuant to the First Step

Act of 2018, filed on May 4, 2020. See Doc. No. 407. The Government filed a response in opposition

to the motion on May 14, 2020. See Doc. No. 408. The Defendant filed a reply brief and a letter

addressing his motion on June 1, 2020. See Doc. Nos. 411 and 412. For the reasons set forth below,

the motion is denied.



I.     BACKGROUND

       On May 8, 2018, Turner was sentenced to 60-months of imprisonment and 3 years of supervised

release for conspiracy to distribute and possess with intent to distribute a controlled substance and a

money laundering conspiracy. See Docket No. 349. No appeal was taken. Turner is serving his

sentence at USP Leavenworth in Leavenworth, Kansas. His presumptive release date is November 3,

2021. On May 1, 2020, Turner filed the instant motion which was somewhat vague in its purpose. In

his reply brief, Turner clarified that he was seeking a reduction of sentence and compassionate release

under 18 U.S.C. § 3582(c)(1)(A) citing “extraordinary and compelling” reasons. The Government

responds asserting that Turner has not provided an appropriate basis for compassionate release.



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II.    LEGAL DISCUSSION

       18 U.S.C. § 3582(c)(1)(A) allows the Court to modify a term of imprisonment under two

circumstances: by motion of the Director of the BOP or upon motion of the Defendant “after the

defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to

bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by

the warden of the defendant’s facility, whichever is earlier.” Turner contends he filed a request for

compassionate release with the BOP on or about April 17, 2020. See Doc. No. 411-2. The

Government contends no such request was ever submitted to the BOP. See Doc. No. 408-1. The record

does not reflect whether the BOP has ruled on the request but more than thirty days have passed since

the request was filed. Giving Turner the benefit of the doubt, the Court finds he has exhausted his

administrative remedies.

       In considering a motion to reduce sentence, the Court must assess whether, after considering

the 18 U.S.C. § 3553(a) factors, “extraordinary and compelling reasons” exist which warrant a sentence

reduction, and if a sentence reduction is consistent with the Sentencing Commission’s applicable policy

statement. See 18 U.S.C. § 3582(c)(1)(A). There is no right to counsel in Section 3582(c) proceedings.

United States v. Brown, 565 F.3d 1093, 1094 (8th Cir. 2009). Nor is there a right to a hearing. See

Dillon v. United States, 560 U.S. 817, 827-28 (2010) (observing that, under Federal Rule of Criminal

Procedure 43(b)(4), a defendant need not be present at a proceeding under Section 3582(c)(2) regarding

the imposition of a sentencing modification). It should also be noted that the CARES Act does not

provide the Court with any expanded authority to grant a motion to reduce sentence under 18 U.S.C.

§ 3582(c). See CARES Act, Pub. L. No. 116-136, 134 Stat 281 (2020).

       Prior to the passage of the First Step Act in 2018, district courts could only grant compassionate

release sentence reductions based upon a motion filed by the director of the BOP. Such motions were

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rarely filed. This all changed when the First Step Act was signed into law on December 21, 2018. The

relevant portion of the new law now reads as follows:

       (c) Modification of an imposed term of imprisonment.--The court may not modify
       a term of imprisonment once it has been imposed except that–

         (1) in any case–

               (A) the court, upon motion of the Director of the Bureau of Prisons, or upon
               motion of the defendant after the defendant has fully exhausted all
               administrative rights to appeal a failure of the Bureau of Prisons to bring a
               motion on the defendant's behalf or the lapse of 30 days from the receipt of such
               a request by the warden of the defendant's facility, whichever is earlier, may
               reduce the term of imprisonment (and may impose a term of probation or
               supervised release with or without conditions that does not exceed the unserved
               portion of the original term of imprisonment), after considering the factors set
               forth in section 3553(a) to the extent that they are applicable, if it finds that–

                       (i) extraordinary and compelling reasons warrant such a reduction;

                       and that such a reduction is consistent with applicable policy statements
                       issued by the Sentencing Commission;

18 U.S.C.A. § 3582(c)(1)(A)(I) (emphasis added).

       Unfortunately, the First Step Act does not define “extraordinary and compelling reasons.” The

Sentencing Commission policy statement can be found at Section 1B1.13 of the 2018 Sentencing

Guidelines Manual. However, the policy statement pertains to the old law rather than the new law and

thus is of questionable applicability. See United States v. Beck, No. 1:13-CR-186-6, 2019 WL

2716505, at *6 (M.D.N.C. June 28, 2019) (concluding the old policy statement provides helpful

guidance but does not control the district court’s independent assessment of whether “extraordinary and

compelling reasons” warrant a sentence reduction.).          This Court agrees that the Sentencing

Commission’s existing policy statement provides only limited guidance. See United States v. Fox, No.

2:14-CR-03, 2019 WL 3046086, at *3 (D. Me. July 11, 2019). In addition, the Sentencing Commission

will not be publishing a 2019 or 2020 Sentencing Guidelines Manual for lack of a quorum. Beck, No.

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1:13-CR-186-6, 2019 WL 2716505, at *5 n.7. The Application Note to U.S.S.G. § 1B1.13 provides

as follows:

       1.     Extraordinary and Compelling Reasons.--Provided the defendant meets the
              requirements of subdivision (2), extraordinary and compelling reasons exist
              under any of the circumstances set forth below:

              (A)    Medical Condition of the Defendant.--

                     (i)    The defendant is suffering from a terminal illness (i.e., a serious
                            and advanced illness with an end of life trajectory). A specific
                            prognosis of life expectancy (i.e., a probability of death within
                            a specific time period) is not required. Examples include
                            metastatic solid-tumor cancer, amyotrophic lateral sclerosis
                            (ALS), end-stage organ disease, and advanced dementia.

                     (ii)   The defendant is–

                            (I)     suffering from a serious physical or medical condition,

                            (II)    suffering from a serious functional or cognitive
                                    impairment, or

                            (III)   experiencing deteriorating physical or mental health
                                    because of the aging process,

                            that substantially diminishes the ability of the defendant to
                            provide self-care within the environment of a correctional
                            facility and from which he or she is not expected to recover.

              (B)    Age of the Defendant.--The defendant (i) is at least 65 years old; (ii) is
                     experiencing a serious deterioration in physical or mental health because
                     of the aging process; and (iii) has served at least 10 years or 75 percent
                     of his or her term of imprisonment, whichever is less.

              (C)    Family Circumstances.--

                            (i)     The death or incapacitation of the caregiver of the
                                    defendant's minor child or minor children.

                            (ii)    The incapacitation of the defendant's spouse or registered
                                    partner when the defendant would be the only available
                                    caregiver for the spouse or registered partner.


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               (D)     Other Reasons.--As determined by the Director of the Bureau of
                       Prisons, there exists in the defendant's case an extraordinary and
                       compelling reason other than, or in combination with, the reasons
                       described in subdivisions (A) through (C).

       2.      Foreseeability of Extraordinary and Compelling Reasons.--For purposes of
               this policy statement, an extraordinary and compelling reason need not have
               been unforeseen at the time of sentencing in order to warrant a reduction in the
               term of imprisonment. Therefore, the fact that an extraordinary and compelling
               reason reasonably could have been known or anticipated by the sentencing court
               does not preclude consideration for a reduction under this policy statement.

       3.      Rehabilitation of the Defendant.--Pursuant to 28 U.S.C. § 994(t),
               rehabilitation of the defendant is not, by itself, an extraordinary and compelling
               reason for purposes of this policy statement.

       4.      Motion by the Director of the Bureau of Prisons.--A reduction under this
               policy statement may be granted only upon motion by the Director of the Bureau
               of Prisons pursuant to 18 U.S.C. § 3582(c)(1)(A). The Commission encourages
               the Director of the Bureau of Prisons to file such a motion if the defendant
               meets any of the circumstances set forth in Application Note 1. The court is in
               a unique position to determine whether the circumstances warrant a reduction
               (and, if so, the amount of reduction), after considering the factors set forth in 18
               U.S.C. § 3553(a) and the criteria set forth in this policy statement, such as the
               defendant's medical condition, the defendant's family circumstances, and
               whether the defendant is a danger to the safety of any other person or to the
               community.

               This policy statement shall not be construed to confer upon the defendant any
               right not otherwise recognized in law.

       5.      Application of Subdivision (3).--Any reduction made pursuant to a motion by
               the Director of the Bureau of Prisons for the reasons set forth in subdivisions (1)
               and (2) is consistent with this policy statement.

U.S.S.G. § 1B1.13.

       Turner provides little basis for his motion other than that he has been a model prisoner, his

children need him at home, and a generalized fear of contracting COVID-19. Turner is 34 years of age

and has served approximately 2 years of his 5 year sentence. His presumptive release date is November

3, 2021. Turner is to be commended for his good behavior while incarcerated and his completion of


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the RDAP program. The desire to be home with one’s family does not constitute “extraordinary and

compelling reasons” that would warrant a sentence reduction. The Court notes Turner’s security

classification appears to be overstated but the Court has no control over such matters which are

determined solely by the BOP.

       The mere existence of the COVID-19 pandemic, which poses a threat to every person in the

country, does not, in and of itself, provide a basis for a sentence reduction. As the Third Circuit Court

of Appeals recently commented, “the mere existence of COVID-19 in society and the possibility that

it may spread to a particular prison alone cannot independently justify compassionate release.” United

States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). District courts have concluded similarly. See United

States v. Eberhart, Case No. 13-cr-00313-PJH-1, 2020 WL 1450745, at *2 (N.D. Cal. Mar. 25, 2020)

(“General concerns about possible exposure to COVID-19 do not meet the criteria for extraordinary

and compelling reasons for a reduction in sentence”). This does not mean that COVID-19 is not

relevant to the Court’s totality of circumstances analysis when considering a motion for reduction of

sentence. All factors must be considered. COVID-19 is an extremely dangerous illness. It has caused

thousands of deaths in the United States in a short period of time and severe societal and economic

disruption. In response to the pandemic, the BOP has taken significant measures to protect the health

of the inmates in its charge including working with the United States Centers for Disease Control to

minimize the risk of COVID-19 transmission with its facilities. The risk of infection is very real, both

within BOP facilities and in society in general. Release from prison does not abate the risk. While

sympathetic to Turner’ concerns regarding the presence of COVID-19 in the federal prison system, the

Court does not find that his circumstances clear the high bar necessary to warrant a sentence reduction.

       The Court finds a generalized fear of contracting COVID-19 is not an “extraordinary and

compelling reasons” for compassionate release or a sentence reduction within the meaning of Section

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3582(c)(1)(A). The Court has carefully reviewed the entire record and concludes Turner has failed to

demonstrate “extraordinary and compelling reasons” that would warrant a sentence reduction. See

United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016) (noting the burden is on the defendant to

establish a sentence reduction is warranted under 18 U.S.C. § 3582(c)(2)). Hopefully, the BOP will

revisit Turner’s security classification and reconsider whether his current placement at a USP is

warranted. The undersigned would recommend a less restrictive placement, but fully recognizes the

BOP has sole responsibility to determine an inmate’s place of incarceration.



III.   CONCLUSION

       Accordingly and for the reasons set forth above, the Defendant’s motion to reduce sentence

(Doc. No. 407) is DENIED.

       IT IS SO ORDERED.

       Dated this 4th day of June, 2020.

                                             /s/ Daniel L. Hovland
                                             Daniel L. Hovland, District Judge
                                             United States District Court




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